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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )     CASE NO. 2:19-MC-3869-WKW
                                       )
QUANESHA JOHNSON,                      )
                                       )
            Defendant,                 )
                                       )
LEAR CORPORATION,                      )
                                       )
            Garnishee.                 )

                                 ORDER

     Upon consideration of the United States’s Motion to Dismiss Garnishment

(Doc. # 22), it is ORDERED that the motion is GRANTED and that the Writ of

Garnishment (Doc. # 3) is DISMISSED.

     DONE this 23rd day of January, 2020.

                                                 /s/ W. Keith Watkins
                                           UNITED STATES DISTRICT JUDGE
